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                                     IN THE UNITED STATES DISTRICT COURT
                                         WESTERN DISTRICT OF VIRGINIA
                                              ROANOKE DIVISION

                                CRIMINAL MINUTES - GUILTY PLEA HEARING

  Case No.: 4:18CR00012-004                 Date: 2/10/2020

  Defendant: Montez Lamar Allen, custody                           Counsel: Neil Horn, Seth Weston - CJA

  PRESENT:         JUDGE:                   Michael F. Urbanski, CUSDJ         TIME IN COURT: 10:36-11:45 51m
                   Deputy Clerk:            Kristin Ayersman
                   Court Reporter:          Mary Butenschoen
                   U. S. Attorney:          Heather Carlton, Ron Huber
                   USPO:                    Kim Falatic
                   Case Agent:              Devin Taylor, FBI
                   Interpreter:             none

  PROCEEDINGS:

         Waiver of Indictment filed.
         Information filed.
         Plea Agreement filed with court; SOF filed with court.
         Defendant advised of right to have U. S. District Judge accept plea. Defendant waives this right, and executes
         Consent to Allow U. S. Magistrate Judge to accept plea
         Defendant re-arraigned as to Counts Enter counts to which pleading guilty
         Defendant placed under oath. Court questions defendant regarding his/her physical and mental condition, and
         advises defendant of his/her rights, and the nature and possible consequences of plea.
         Court takes under advisement plea of guilty and Rule 11(c)(1)(C)plea agreement. The court finds the defendant
         competent and capable of making a knowing, informed and voluntary plea.
         Guilty plea form executed and filed.
         Government summarizes evidence to support plea and rests.
         Court finds defendant guilty as charged in Counts
         OR
         U. S. Magistrate Judge accepts plea of guilty to Counts enter counts to which defendant pled guilty and will
         recommend that the U. S. District Judge find the defendant guilty of said counts.

  DEFENDANT PLEADS:
  (list counts)

      DEF. #            GUILTY               NOT GUILTY             NOLO                      REMARKS
               1
        1

        2

        3

        4

         Court orders Presentence Report.
         Copy of Presentence Report not requested.
         Defendant to remain on bond.
         Defendant remanded to custody.
         Sentencing hearing scheduled for TBA before Judge Urbanski.
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  Additional Information:
  Parties/court located in Roanoke.
  Dft counsel raises objection re jurisdiction/appeal status (interlocutory appeal filed by US) and going forward today. US
           disagrees with positon of dft - for reasons stated on record. Court believes it has jurisdiction for reasons stated on
           record.

  Court asks US for justifiable reasons for accepting plea in this range of punishment. US responds as stated on record. Dft
          counsel responds as stated on record. Dft wants the court to accept plea and PA at this time. Court takes plea under
          advisement. US requests sentencing prior to trial of this case and requests that SOF be used in PSR.

  US speaks for victim's family - objection to plea agreement, as insufficient.
